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                                                                                     I.
                                                                             j            j




                  IN THE UNITED STATES DISTRICT COURT FOR THE


                             EASTERN DISTRICT OF VIRGINIA                   ^ 2 c ^ 3-26

                                      Alexandria Division           ^ Z. .X A 2A "        ''' ,2

UNITED STATES OF AMERICA



                                                    Criminal No.[)^1        ^^^
PAUL POTTER,

               Defendant


                                 CRIMINAL INFORMATION


                                            Count 1


       THE UNITED STATES ATTORNEY CHARGES THAT:


       From on or about October 1, 2013,to on or about March 31, 2014,in the City of

Alexandria within the Eastern District of Virginia, the defendant,PAUL POTTER,knowingly

and unlawfully failed to comply with the worker accreditation requirements ofthe Toxic

Substances Control Act including the regulations governing the worker accreditation

requirements for conducting a response action with respect to friable asbestos-containing

materials in a commercial building under 15 U.S.C. § 2646(a)and 40 C.F.R. Part 763, Subpart E,

Appendix C,in that POTTER did not hire workers for the response action that were accredited as

asbestos workers under the Toxic Substances Control Act,in violation of Title 15, United States

Code, Section 2615(b).
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                                            Count 2


       THE UNITED STATES ATTORNEY FURTHER CHARGES THAT:


       From on or about October 1,2013,to on or about March 31,2014, in the City of

Alexandria within the Eastern District of Virginia, the defendant,PAUL POTTER,knowingly

and unlawfully failed to comply with the worker accreditation requirements ofthe Toxic

Substances Control Act including the regulations governing the worker accreditation

requirements for conducting a response action with respect to friable asbestos-containing

materials in a commercial building under 15 U.S.C.§ 2646(a)and 40 C.F.R. Part 763, Subpart E,

Appendix C,in that POTTER failed to have a trained supervisor present at the worksite at all

times while the response action was being conducted,in violation of Title 15, United States

Code, Section 2615(b).

                                            G.Zachary Terwilliger
                                            UnitejLStates Attomey

                                      By:                    V-—
                                            Gordon D. Kromberg
                                            Assistant United States Attomey


                                            David Lastra
                                            Jessica Goldstein
                                            Special Assistant United States Attomeys
